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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


GATEGUARD, INC.


               Plaintiff,                                  Civil Action No. 21-cv-9321 (JGK)

       v.
                                                           FIRST AMENDED INDIVIDUAL
                                                           AND CLASS ACTIONCOMPLAINT

AMAZON.COM, INC.,
AMAZON.COM SERVICES, INC.,                                 JURY TRIAL DEMANDED
AMAZON.COM SERVICES, LLC,
AMAZON LOGISTICS, INC.

               Defendants.


       Plaintiff GateGuard, Inc. (“GateGuard” or the “Company”) by and through its attorneys,

Quainton Law, PLLC, for itself and on behalf of all others similarly situated, as and for its

Complaint against Defendants Amazon.com, Inc., Amazon.com Services, Inc., Amazon.com

Services, LLC, and Amazon Logistics, Inc. (collectively, “Amazon” or “Defendants”), alleges

and states as follows:

                                      INTRODUCTION

       1.      This is an action for damages, documented with photographic and video evidence,

resulting from Amazon’s illegal pattern of tampering with intercom and access control devices in

multifamily residential buildings in New York and across the nation, while lying to low-level

building personnel and deceiving property owners about its authority to install its own access

devices. Amazon has interfered with GateGuard’s contractual relations and prospective economic

advantage, committed computer fraud, misappropriated trade secrets, converted property to its

own use, and unjustly enriched itself—all as part of a broader scheme that attempts to monopolize
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the e-commerce delivery market. GateGuard is also seeking an injunction permanently enjoining

Amazon from taking any further action to tamper with any intercom devices installed in

multifamily residential buildings in New York without the consent of the device owner and the

building owner/manager.

       2.      Founded in 2016, GateGuard is a startup company that develops, manufactures and

sells security technology for multi-tenant apartment buildings.

       3.      One of GateGuard’s primary offerings is its “AI Doorman” intercom device, which

was first released in 2016.

       4.      GateGuard’s intercoms offer unique features and capabilities that enable building

managers to autonomously track everyone who enters, buzzes, or uses a guest code. These features

alert building managers to forbidden activities such as illegal subletting, use of residential

apartments as dormitories, unauthorized or non-compliant group activities and other threats to the

safety and property of residents and landlords alike.

       5.      GateGuard’s intercoms also generate real-time logs of these activities managers can

view, filter, and print from any mobile phone, tablet, or computer, which are accessible via built-

in cellular modems that connect the units to the Internet. GateGuard thus constitutes a valuable

repository of client data of great interest to a business such as Amazon.

       6.      Property managers and tenants rely on GateGuard to keep their buildings safe.

       7.      GateGuard offers its devices and associated software on a subscription model based

on a Service Agreement, pursuant to which GateGuard offers to install its intercom at a low upfront

cost with recurring fees based on usage over a multiple-year period. GateGuard’s Service

Agreement is available at www.gateguard.xyz. The only way for customers to subscribe for

GateGuard’s products and services is through the www.gateguard.xyz website and the execution

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of the Company’s Service Agreement. To place an order, a customer is required to confirm that it

has read and agrees to the Service Agreement and the related Terms and Conditions, which make

clear, inter alia, that GateGuard is the owner of its devices. The relative rights and obligations of

the Company and its subscribers are set forth in more detail in the section entitled, “The GateGuard

Service Agreement and Terms and Conditions” below.

        8.      Amazon is not only destroying GateGuard’s business by the conduct described

above: It is compromising the safety of New York City residents – and breaking the law.

        9.      Specifically, N.Y. Multiple Dwelling Law § 50-a requires every apartment building

in New York State be equipped with a working intercom system. The statute imposes criminal

liability on anyone “who shall willfully destroy, damage, or jam or otherwise interfere with the

proper operation of” such intercoms.

        10.     This is exactly what Amazon has done. At numerous buildings throughout New

York City and in this District, Amazon installed its own devices without permission of building

management and has destroyed, damaged, and interfered with the proper operation of GateGuard’s

intercoms either making the devices appear to be defective, or actually damaging the proper

functioning of GateGuard’s devices in order to return to the building and propose a security

“upgrade” to unsuspecting property managers and owners who did not know of Amazon’s initial

installation.

        11.     Amazon has operated in a ruthless, cut-throat manner, pushing growth at all costs

and signing up new buildings at breakneck speed, often without consent and by deceiving building

superintendents that they have obtained management or ownership approval.

        12.     GateGuard has brought this issue to Amazon’s attention repeatedly, even directly

to its founder Jeff Bezos, starting in October 2020.

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        13.     Yet Amazon refuses to take responsibility for its conduct or even to change its

deceptive and unlawful practices, despite being on notice that its activities compromise the safety

of building residents—including Amazon’s own customers.

        14.     Left with no other choice, GateGuard brings this suit to hold Amazon accountable

for the damage it has caused, to ensure that Amazon does not improperly profit from the

proprietary technology it has accessed through its illegal conduct, and to prevent Amazon from

monopolizing the e-commerce delivery market and further damaging GateGuard and other victims

of its anti-competitive conduct.

                                           THE PARTIES

        15.     GateGuard, Inc. (“GateGuard” or “Plaintiff”) is a Delaware corporation having a

principal place of business at 1521 Alton Road, #888, Miami Beach, FL 331391. “GateGuard” is

also Plaintiff’s registered trademark.

        16.     Defendant Amazon.com, Inc. is a Delaware corporation having a principal place

of business at 410 Terry Avenue North, Seattle, WA 98109.

        17.     Defendant Amazon.com Services, Inc., is a Delaware corporation having a

principal place of business at 410 Terry Avenue North, Seattle, WA 98109.

        18.     Defendant Amazon.com Services, LLC, is a Delaware limited liability company

having a principal place of business at 410 Terry Avenue North, Seattle, WA 98109.

        19.     Defendant Amazon Logistics, Inc. is a Washington State corporation having a

principal place of business at 410 Terry Avenue North, Seattle, WA 98109.

        20.     Upon information and belief, Defendants are and were at all relevant times the

agents, affiliates, alter egos, partners, assignees, successors-in-interest, or principals of each other

or were otherwise responsible for or participated in the performance of the wrongful acts alleged

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herein, and thereby are jointly and severally responsible for such acts and incurred liability

therefore.

                                  JURISDICTION AND VENUE

        21.     This court has subject matter jurisdiction over this action under 28 U.S.C. §§ 1331

and 1338 in that this case arises under various federal statutes, including the Computer Fraud and

Abuse Act, 18 U.S.C. § 1030 et seq., the Defend Trade Secrets Act of 2016, 18 U.S.C.A. § 1832

et seq., the Lanham Act, 15 U.S.C. § 1125, the Sherman Antitrust Act of 1890, 15 USC § 2, and

the Clayton Act of 1914, 15 U.S.C. § 12 et seq.

       22.      This Court has supplemental jurisdiction over all state law causes of action asserted

herein pursuant to 28 U.S.C. § 1367, because Plaintiff's state law claims are part of the same case

or controversy.

        23.     This Court has personal jurisdiction over Defendants because each of them

conducts business in New York and because they have committed torts in the State of New York

and in this district.

        24.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), as a substantial part

of the events, acts, omissions, and injuries giving rise to the claims occurred in this judicial district

and because Defendants are subject to personal jurisdiction in this judicial district at the time this

action has commenced.

                                   FACTUAL BACKGROUND

General

        25.     Amazon has achieved market power in multiple segments of the Internet-based

economy. After beginning as a lowly online bookstore, Amazon now controls 40% of the cloud



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storage market, 34% of the cloud hosting market, 33% of the cloud infrastructure services market,

more than Microsoft, Google, IBM and Alibaba combined. 1

       26.    Amazon’s complete dominance of the overall e-commerce market is even more

striking, as the chart below illustrates. Amazon has the power to dominate markets and is acting

in an increasingly cutthroat manner that has attracted the attention of the Federal Trade

Commission2




       27.    According to a recent report of the House of Representatives’ Subcommittee on

Antitrust, Commercial and Administrative Law, entitled Investigation of Digital Competition

Markets (the “House Antitrust Report”), Amazon controls about 65% to 70% of all U.S. online

marketplace sales and is the most-visited website in the world for e-commerce and shopping. In a

telling phrase, the House Antitrust Report defines Amazon as the “gatekeeper” for e-commerce,

because third parties are virtually compelled to use the Amazon platform for e-commerce sales.

       28.    Amazon’s most ambitious plan yet is to become the actual, and not merely

metaphorical, gatekeeper for urban multi-family residences.



1
  See https://kinsta.com/aws-market-share.
2
 https://www.supplychainbrain.com/articles/30346-walmart-subsidizing-some-vendors-in-price-
war-with-amazon (Amazon has also come under scrutiny for increasingly leaning on vendors to
ensure that their products are not offered for a lower price on Walmart.com or any other rival
website).

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       29.    Amazon’s goal is nothing less that the monopolization of the e-commerce

delivery market and domination of nation-wide package delivery, giving its own products a

competitive advantage over rivals and forcing e-commerce delivery services (from

Shipstation.com to Walmart.com), package delivery services (such as Ship Bob, Fed Ex and

UPS), and package delivery management services such as GateGuard either out of business or to

become customers of the Amazon network.

Amazon Logistics

       30.    Amazon’s deliveries are effected through Amazon Logistics Inc., an Amazon

subsidiary founded in 2016. In just a few short years, Amazon Logistics now controls over 20%

of the total package shipping market in the United States and shows no sign of slowing down.

Amazon Logistics’ tremendous growth has vaulted it ahead of Federal Express, one of the

industry leaders with decades more experience than Amazon logistics. 3 The charts below testify

to the explosive growth of Amazon Logistics.




3
 https://www.asicentral.com/news/newsletters/promogram/october-2021/report-amazon-
surpasses-fedex-in-us-shipping-share/

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             4




4
 https://www.asicentral.com/news/newsletters/promogram/october-2021/report-amazon-
surpasses-fedex-in-us-shipping-share/
                                              8
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According to Axios, “Amazon has the potential to decimate UPS and Fed Ex.” 5 Amazon's online

platform is already undercutting the big players' average shipping rates by up to 33%, according

to Freightwaves. As Axios puts it, Amazon’s “tactic is a modern example of putting competition

through a Rockefeller-style ‘good sweating.’” 6

          32.     Amazon already uses its market power to tie third party sellers on its “Amazon

marketplace” platform to its fulfillment and delivery business. As the House Antitrust report puts

it,

          Due to a lack of alternatives, third-party sellers have no choice but to purchase fulfillment
          services from Amazon. More than 73% of all Marketplace sellers worldwide reportedly
          rely on FBA services. Numerous third-party sellers told the Subcommittee that they
          feel they have no choice but to pay for FBA to maintain a favorable search result
          position, to reach Amazon’s more than 112 million Prime members, and to win the Buy
          Box—through which the vast majority of Amazon sales are made. A recent consumer
          survey indicated that 75% of Amazon Prime customers specifically search for products
          flagged as Prime-eligible. As a result, as the Online Merchant’s Guild told
          Subcommittee staff, many sellers will “say that without Prime you are dead.”
          A competing online marketplace described how Amazon effectively forcing sellers into
          its FBA program makes it more difficult to compete with Amazon for sellers, stating, “
          [T]hrough anticompetitive strategies and practices by Amazon, many . . . sellers are being
          pulled into Amazon’s tied marketplace-and-ecommerce-fulfilment ecosystem in a manner
          that makes them not only less independent but directly dependent on Amazon.


The Last-Mile Delivery Market

          33.     In 2016, the year Amazon Logistics was created, industry analyst Mordor

Intelligence noted:

          The last mile delivery, being a final leg of logistics is very important, time consuming
          and also takes a major share in the overall delivery cost. Unlike the normal shipping,
          where large amount of cargo is transported along a fixed route, the last mile delivery


5
    https://www.axios.com/amazon-shipping-bigger-than-fedex-3dc5d80d-e16a-4531-9f45-1898a6261a78.html
6
    Id.
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       involves transportation of goods in multiple routes with low parcel sizes. This cost has
       been vital for the retailers as the customers’ expectations toward the fast and free delivery
       are growing. So, the companies and retailers are looking at advanced technological
       solutions and new delivery models to improve the overall process. According to various
       industrial estimates, the costs associated with the last miles stands around 50% of the
       overall logistics cost.

       34.     Historically, the private package delivery duopoly, UPS and Fed Ex, outsourced

last-mile delivery to the US Postal Service (“USPS”). 7 However, Amazon led the way in

internalizing the last-mile delivery function, leading UPS and Fed Ex to follow suit.

       35.     E-commerce is the major driver of last-mile delivery growth. According to the US

census, e-commerce sales for the second quarter of 2021, adjusted for seasonal variation, but not

for price changes, was $222.5 billion. Unlike bricks and mortar retail sales, 100% of all e-

commerce sales require last mile logistics delivery. While Amazon’s share of total last mile

delivery is not publicly available, if its share of the much larger national parcel delivery market

has now surpassed Fed Ex and, likely, UPS, its last mile delivery market share must be even

greater.

The E-commerce Delivery Market.

       36.     The total national e-commerce market was estimated at $767 billion in 2021. 8 The

GDP of the New York Metro area was approximately $1.5 trillion before the onset of the Covid-

19 pandemic 9 out of an approximately $21.5 trillion United States pre-pandemic GDP. 10 The

New York metro area thus constitutes approximately 7% of US GDP and the New York e-




7
  https://www.savethepostoffice.com/postal-service-delivers-last-mile-almost-changing-modes-
delivery/#:~:text=The%20Postal%20Service%20helps%20out%20FedEx%20and%20UPS,it%20
does%20best%20%E2%80%9D%20%E2%80%94%20last%20mile%20delivery.
8
  https://www.statista.com/statistics/272391/us-retail-e-commerce-sales-forecast/
9
  https://www.statista.com/statistics/183815/gdp-of-the-new-york-metro-area/
10
   https://tradingeconomics.com/united-states/gdp
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commerce market can be estimated at $53 billion. Monopolization of the e-commerce delivery

market can be expected to increase Amazon’s e-commerce market share 10% or more.

       37.     The e-commerce delivery market is booming. 11 The global e-commerce logistics

market is estimated to generate $535 billion in annual revenues. 12 The US share of this market

can be estimated at approximately $100 billion, of which approximately 60% is in

transportation/delivery. Id. The size of the New York e-commerce delivery market can thus be

estimated to be approximately $4 billion. While Amazon’s immediate goal is to dominate e-

commerce delivery so as to increase e-commerce retail sales, the harm to competitors can be

measured as a contraction of the market share for Amazon’s competitors, and either the

disappearance of competitors or the conversion of competitors to clients.

       38.     Amazon already has market power in retail e-commerce, as the House Antitrust

Report recognizes. Likewise, Amazon has market power over fulfillment logistics for third-party

sellers who sell through the Amazon marketplace, as reflected in the 73% fulfillment rate for

third party sales on the Amazon platform. If Amazon controls 70% of the online marketplace

(with its own sales aggregated with third party sales) and its own sales amount to 50% of all

online sales, this means that it must control in excess of 60% of all e-commerce deliveries.

       39.     Here, Amazon has the market power to achieve its ultimate goal—the

monopolization of the e-commerce delivery market and the achievement of a dominant position

in package delivery generally.




11
   https://manometcurrent.com/e-commerce-in-parcel-delivery-market-is-booming-worldwide-
with-lso-deutsche-post-fedex/
12
   https://www.alliedmarketresearch.com/e-commerce-logistics-market
                                             11
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        40.     Control of the ecommerce delivery market will feed back into and further

reinforce Amazon’s domination of the e-commerce market and position it to destroy other

competitors as well or turn them into clients.

Residential Apartments and the Amazon “Key” to Control

        41.     In large urban environments, the vast majority of the population lives in multi-

family apartments. In New York City, for example, 84% of the housing stock is in multi-family

apartment buildings. https://furmancenter.org/thestoop/entry/report-growth-in-nycs-housing-

stock-is-outpaced-by-growth-in-adult-populati.

       42.      All apartment buildings are required by law to have an intercom or access control

system of some kind, and the intercom market in New York alone consists of hundreds of

different companies. Just a few of these companies include Computer Integrated Services of New

York, Advanced iCam New York, Intercom in NYC, Hillman Intercom, CBSIntercom Systems,

Johnson Integrated Security Systems, United Security Systems, Easy Intercom, Parker Intercom

Service and Brooklyn Intercom. Control of access to residential multi-family dwellings is the key

to domination of the delivery market.

       43.      Amazon’s strategy is not to displace all competitors in the access control market

entirely—at least not immediately. Rather, its short-term aim is to position itself strategically in

the access control space so as to monopolize the lucrative delivery market. In the longer term, on

information and belief, Amazon also aims to use GateGuard’s proprietary technology to develop a

“smart” intercom of its own, displacing not only GateGuard entirely, but taking share from

Google’s Nest product.

       44.      In this e-commerce delivery market, Amazon’s competitors are various entities of

different types that provide package delivery services, and include the following:

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              •   Third party-logistic (“3PL”) providers such as Ship Bob and other fulfillment

                  centers; 13

              •   Other package delivery companies – UPS, Fed Ex, USPS, DHL that deliver

                  directly or that work with e-commerce retailers or 3PL providers;

              •   Other e-commerce retailers that integrate their own delivery solutions or work with

                  other package delivery companies;

              •   Building access providers with package delivery management functions such as

                  GateGuard;

              •   Certain landlords who seek to internalize package delivery services, such as

                  external storage, or partner with access providers such as GateGuard.

         45.       To gain a competitive advantage over all these competitors, in 2019, Amazon hit

on the solution, which it calls the Amazon Key for Business, the “Key for Business” or “Key”

for short.

        46.        The Key for Business is a small device that can be inserted into existing access

devices or systems through an “extender” described in more detail below, or by being directly

wired into an existing access system's wiring. The Key can remotely controlled and, once

installed, Amazon deliverers can use it to obtain building access 24/7 without the intervention of

any third parties, landlords or owners or access control devices.

        47.        All of Amazon’s competitors in the e-commerce delivery market are threatened –

and, as discussed below – damaged by the Amazon Key. The Key provides Amazon with a direct

competitive edge over other package delivery services that do not have dedicated access to



13
     See https://www.shipbob.com/.
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apartment buildings and thus have a higher cost structure (failed deliveries, circling time); over

fulfillment services that similarly suffer from a pricing and reliability disadvantage; over delivery

management companies that can be undercut and driven out of business as Amazon controls a

larger and larger share of the market; and over landlords, who can no longer offer off-site storage

as an economical alternative to immediate Amazon delivery. In short, the Key aims to be an

essential facility, through which a company that already controls 60-70% of the e-commerce

delivery market can monopolize the market and, once competitors are driven out of business or

turned into customers, raise prices on consumers with no alternative.

       48.      GateGuard is the quintessential competitor in the delivery market Amazon needs

to neutralize or destroy: the independent package delivery management company. GateGuard

makes clear to its customers that package delivery management is central to its business

proposition, as set forth in Section 13 of its Service Agreement:


        13. PACKAGE AND DELIVERY MANAGEMENT

             1. The goal of this system is to remove the burden and liability of package
                management from the management company, building officers, and staff, and to
                remove risks associated with package management. As such, GateGuard will have
                control over all aspects of package delivery, from who can deliver into the system,
                to when, and what.
             2. GateGuard may allow or disallow any delivery service, courier, or other
                organization or individual from accessing the service, or placing items into any
                package area. GateGuard may disallow any product or item into package area, such
                as but not limited to hazardous, oversized, or overweight items that may pose a risk
                to equipment and humans.
             3. GateGuard may require any or all Services to deliver to Holding Locations. This is
                for logistical reasons, such as to avoid overload, or traffic, or annoying residents at
                peak times, or excessive burden on the system or financials of the system.
                GateGuard may charge services a fee for usage of holding services. (Services will
                be able to deny this charge if they choose to hold the package themselves and re-
                deliver it at an approved time or return the package to its source).



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       49.     The Amazon Key seeks to undermine and destroy GateGuard’s separate package

and delivery management services for Amazon products. The Key, pictured below, appears

innocuous, but is in fact a competition killer.




       50.     The Amazon Key “brain” pictured above is wired directly into or onto the

GateGuard circuitry, or the circuitry of other access control providers, often shorting the devices

and/or their lock mechanisms due to polarity or voltage mismatches, as shown in more detail

below. Critically, Amazon does not compete on the technological superiority of the Key device,

which is a relatively “low-tech” and simple electronic “door key.” Rather, to install its Key for

Business, Amazon lies to building superintendents, claiming to have received authorization to
                                             15
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install its device when it has not received such consent, and then illegally tampers with already

installed devices, such as the GateGuard intercoms, to place an “extender” inside the electronic

devices belonging to others, including GateGuard, enabling Amazon to “piggy back” on the

authorized access granted to parties such as GateGuard, bypassing landlords, property owners

and other third-party access providers.

Key for Business is Designed so Amazon Can Dramatically and Cheaply Increase the Speed of
its Deliveries, and Ultimately Control the E-Commerce Delivery Market .
       51.     Amazon’s true motivations for deploying Key for Business are to control residential

building access, thereby increasing the volume and speed of its deliveries to apartment buildings

and becoming an essential service through which it can ultimately control the ecommerce delivery

markets.

       52.     By installing its Key for Business within or on top of existing intercom/access

control devices of third parties, Amazon can effectively control the e-commerce delivery market

entirely. This is so because, with the priority, 24/7 access of the Amazon Key, Amazon

deliveries can be made at any time, without the need to gain entry to the building from the

customer, superintendent, or intercom/access controller. Other e-commerce retailers will not be

able to compete with Amazon for delivery and will be forced to use Amazon’s delivery service

for a fee, thus making competitors customers.

       53.     Crucially, through the Key for Business, Amazon Logistics can obtain a decisive

cost advantage over competitors. The chart below shows the magnitude of escalating cost issues

for Amazon (and for all delivery companies).




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       54.     One of the main drivers of escalating costs in the congested urban environment is

a lack of parking or extended standing places in the urban environment. Deliverers are forced to

spend time and gas circling buildings, attempting multiple re-deliveries or cancelling deliveries

altogether and incurring customer ill-will. With the Amazon Key, deliverers can offload and

deliver to a common delivery area inside the residence multiple packages in minutes.

       55.     In addition, by ensuring more rapid, reliable deliveries through its Key, Amazon

can market a faster, more efficient package delivery service not only for its own products, but

also for third-party deliveries. E-commerce rivals will be unable to match Amazon for speed and

reliability and will be forced to use Amazon for their deliveries. With total control of the delivery

market, Amazon can engage in the other anti-competitive conduct identified by the House

Antitrust Report: appropriation of third-party data, self-preferencing and extraction of anti-

competitive user fees. Amazon can then create a “feedback” loop to further reinforce its
                                                 17
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dominance of e-commerce retail, further enhancing its market power to dictate price at the

expense of consumers.

       56.     With a built-out “Key” network, Amazon can offer its delivery service to Fed Ex,

UPS and others as an unavoidable “last mile” delivery service, thus thwarting its competitors’

services and forcing these competitors to become its own customers.

       57.     As a result of the foregoing, Amazon has been able to double the delivery quotas

imposed on its drivers, increasing the volume of deliveries from 125-150 packages a day to 300

packages in the same time period, as documented by one well-informed commentator:




       58.     As bad as the conduct by Amazon alleged above was prior to 2020, it got worse

when ecommerce activity increased during the COVID-19 pandemic, as Amazon saw an

opportunity to monopolize the e-commerce delivery market. Much as Amazon cloud services have

become central to the Internet in such a way that natural competitors are compelled to turn to

Amazon rather than develop rival technology, Amazon’s aim is to develop its delivery system so

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extensively that rivals will find it cheaper to turn to Amazon Logistics for their deliveries than to

ensure such deliveries on their own. 14

       59.     With a built-out access control network, Amazon can also offer its delivery service

to Fed Ex, UPS and others as an unavoidable “last mile” delivery service, thus cannibalizing its

competitors’ services while simultaneously forcing these competitors to become its own

customers. Amazon’s ubiquitous vans and trucks provide a vivid illustration of Amazon’s

dominant and growing power.

Amazon’s Patterns of Lies and Deception About its Key for Business

       60.     In its press release announcing the Key for Business, 15 Amazon claimed that its

Key for Business “allows building owners and managers to give controlled access to delivery

drivers to drop off Amazon packages to their residents[.]” This press release was materially false

when made because Amazon intended from the outset to bypass the property owners and deceive

superintendents and managers, tricking them into believing no owner or third-party consent was

necessary.



14
   Media reports document that Amazon’s efforts have come at the expense of the health and safety
of these drivers. Lauren Kaori Gurley, Amazon Delivery Drivers Are Overwhelmed and
Overworked         by     Covid-19       Surge,        Motherboard          (July     1,      2020)
https://www.vice.com/en/article/m7j7mb/amazon-delivery-drivers-are-overwhelmed-and-
overworked-by-covid-19-surge (documenting how Amazon’s “punishing culture” and
“skyrocketing quotas” “made conditions for Amazon’s roughly 75,000 delivery drivers grueling
and dangerous” including by forcing drivers to violate traffic and safety laws and forego lunch and
bathroom breaks to meet Amazon’s expectations). See also Patricia Callahan, Amazon Pushes Fast
Shipping but Avoids Responsibility for the Human Cost, N.Y. Times (Sept. 5, 2019)
https://www.nytimes.com/2019/09/05/us/amazon-delivery-drivers-accidents.html (documenting
how Amazon’s “relentless push for e-commerce dominance” pressures its drivers into unsafe
situations, but when accidents result, Amazon goes to great lengths to “shields itself from
liability”).
15
  https://press.aboutamazon.com/news-releases/news-release-details/key-amazon-introduces-
new-products-and-services-expand-its (last accessed April 15, 2021).
                                                19
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         61.    Promotional materials further the sales pitch that “Amazon Key for Business is

completely free and perfect for apartments, gated communities, and office buildings. . . Amazon

Key for Business (KFB) connects with a smart fob to let building owners and managers safely &

seamlessly grant access to Amazon’s fully vetted and tracked delivery drivers.”

         62.    Amazon’s website 16 claims that Key for Business “works seamlessly with” and

“does not disrupt the existing building access system.” Amazon repeats the same claims in direct

communications with prospective customers.

         63.    These claims are false.

         64.    Amazon knows these claims are false.

         65.    A recently posted video provides further insight into Amazon’s sales tactics:




16
     https://www.amazon.com/b?ie=UTF8&node=18530497011 (last visited April 11, 2021).
                                           20
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         66.    In this video, 17 an individual identified as one of Amazon’s “Regional Directors”

explains how Amazon’s sales representatives promoting KfB to building owners can leverage

Amazon’s prominence to gain the trust of business owners (“Amazon is a very respected business”

with “such a big name”).




         67.    In the video, Amazon sales reps are explicitly encouraged to keep their pitch as

“simple” as possible so that potential targets – low level managers and superintendents – do not

“get nervous” and can be tricked into signing a contract with Amazon without “feel[ing] the

need” to contact “a higher up.”

         68.    Amazon also uses deceptive language to promote its Key for Business.

         69.    In written and verbal communications with prospective customers, Amazon is



17
     https://www.youtube.com/watch?v=jpD20m4d_mE (last visited April 14, 2021).
                                            21
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careful to characterize Key for Business as an “update” or a “necessary upgrade to [Amazon’s]

delivery system.”

       70.     For example, the above-referenced video documents how Amazon describes KfB

to building owners as a “necessary upgrade[] to [Amazon’s] delivery system:”




       71.     This is of course a complete lie as Amazon is not updating or upgrading any of its

own delivery devices, but is interfering with, and attempting to override, the existing access

devices already installed at the gate.

       72.     Amazon uses this deceptive language knowing few consumers will question or

forgo an “update” or “upgrade” Amazon says is “necessary.”

       73.     In the promotional materials attached to this email Amazon insists that Key For

Business is simply an update and “procedural fix,” even though it does not actually update any

Amazon products.

       74.     Amazon also lies in its promotional materials that its product will not interfere with

existing commercial access methods, deliberately pretending it will seek business owner consent

for installing its devices and conflating residents’ access with the access control of third-parties

controlling commercial including GateGuard, other intercom providers or the property managers


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or business owners themselves:




       75.     In reality, as described above, Amazon sales reps are specifically instructed to make
the sale with lower-level individuals, such as a superintendent, without seeking the consent of
“higher ups,” i.e., the landlord or property manager.
Amazon Falsely Claims Key for Business “Does Not Disrupt” Intercoms
       76.          In promotional materials and other documents used to promote Key for

Business to consumers, Amazon falsely claims its device can be added to any existing “control

system” in a “secure” manner, deliberately concealing the fact that its device interferes with and

is used to disable third-party control systems.




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      77.      On its website, 18 Amazon claims that Key for Business “works seamlessly with”

and “does not disrupt the existing building access system.”




       78.     These claims are false.

       79.     Far from “completely secure,” Amazon’s Key for Business itself is a serious

security risk for buildings. In many instances, Amazon’s Key for Business installations interfere

with or destroy a building’s primary intercom, electric door locks, and other components.

       80.     Contrary to Amazon’s representations, by disabling or destroying the building’s

primary access system, Key for Business plainly does “allow intruders into. . . apartment

building[s]” since the device is designed to perform one function and one function only: ensure

that Amazon drivers can make deliveries into buildings without resident, superintendent, property

manager or third-party control or approval.

Amazon’s Relentless Hounding of Potential Customers

       81.     In addition to its deceptive sales tactics, Amazon is relentless in pushing the

installation of Key for Business. Customers report that Amazon’s representatives hound them

incessantly (by phone, email, and in person) 19:




18
  https://www.amazon.com/b?ie=UTF8&node=18530497011 (last visited April 11, 2021).
19
    See, e.g., https://www.multifamilyinsiders.com/apartment-ideas/the-front-lines/17596-all-i-
want-for-christmas-is-to-be-off-of-the-amazon-key-call-list (last accessed April 15, 2021),
including reports such as:
    ● “They’re relentless!!”
    ● “I’m about to get a restraining order.”
    ● “Omg. They are THE WORST. I can’t be more clear at this point and they continue to call.
        It is so annoying and disruptive.”
See     also      https://www.multifamilyinsiders.com/apartment-ideas/the-front-lines/18024-any-
communities-out-there-using-amazon-key-for-business-pros-cons (last accessed April 15, 2021):
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Amazon Ignores Management’s Instructions and Installs Key for Business Without Consent
       82.    Unsurprisingly, Amazon’s hard-ball sales tactics have been successful.

Occasionally property managers begrudgingly relent and allow Amazon to install Key for

Business, taken in by Amazon’s lies that the device will not interfere with its existing access

control system.

       83.    Often, however, a firm “no” does not stop Amazon. When their aggressive tactics

fail, Amazon sales reps proceed to the location and install Key for Business anyway – without the

property owner’s consent. 20 To avoid the consent of management entirely, Amazon reps are

instructed to seek out and pressure lower-level employees to close a deal quickly so the nervous




    ● “They pressured us to get installed quickly, but none of the drivers even know what it is….
        I think it’s all a scam[.]”
    ● “Not only did nothing change but everyday we get solicited by Amazon and asked if we
        want this service that we already have…. [O]ur deliveries with them have gotten worse if
        that is possible.”
20
   https://www.multifamilyinsiders.com/apartment-ideas/the-front-lines/18024-any-communities-
out-there-using-amazon-key-for-business-pros-cons (last visited April 11, 2021).
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employees will not contact “higher-ups.”




       84.     Based on the number of social media posts discussing this phenomenon, it is

reasonable to infer that Amazon is systematically installing its Key for Business devices without

consent.

GateGuard’s Devices, Service Agreement and Terms and Conditions.

       85.     GateGuard’s flagship device is an Android OS-powered intercom with face

detection and recognition capability, cloud interaction and storage, video chat, 4G LTE

connectivity, a router for providing wired and WiFi connectivity, NFC connectivity, data storage,

and more. The device is seamlessly integrated with a website that permits landlords and property

owners to track activity and usage, providing an online log of each entrance into the building and

enabling clients to monitor non-primary uses, illegal sublets and the entrance of large groups. See

https://youtu.be/Ski0UqQZKEU. Use of the Company’s website is governed by GateGuard’s

Terms and Conditions that reinforce the Company’s proprietary rights in its devices, intellectual

property, and website. See https://gateguard.xyz/legal/terms.php.

       86.     The GateGuard AI Intercom is built around proprietary technology that includes

the configuration of its motherboard, the placement and type of electronic circuitry and other

components used, the insulation resistance between circuits, the voltages at which the device

operates, the mechanisms of internet connectivity and the antennae used. In addition, the inner

casing of the intercom, its system of wall-mounting and hinges, its waterproofing design and its

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custom-designed cables are all proprietary to GateGuard and kept secret from competitors and

customers, with only authorized GateGuard agents permitted access to the devices for repairs and

troubleshooting. By breaking into the GateGuard “box,” a competitor such as Amazon is able to

steal or damage such proprietary technology. On information and belief, Amazon is using

GateGuard’s proprietary technology to develop certain Key functionalities and to develop a smart

intercom of its own that will enable it to enter the smart building access control market and

compete not only with GateGuard, but also with devices such as the Google Nest.

       87.    Amazon’s playbook in stealing technology from early-stage companies is well-

established. See https://www.wsj.com/articles/amazon-tech-startup-echo-bezos-alexa-investment-

fund-11595520249. In one well-documented episode, Amazon obtained access to the financials,

strategic plans and other proprietary information of a company called Nucleus, and then developed

an Alexa-enabled video chat device, called the Echo Show, that performed many of the same

function as Nucleus’ device, leaving the Nucleus founders and other investors “furious” as “there

was no way [the] small company could compete against Amazon in the consumer space.” Id.

       88.    The functionality of the GateGuard flagship device is shown below:




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       89.     Amazon’s aggressive build-out of its Key network runs headlong into companies

such as GateGuard that have proprietary rights in the devices Amazon needs to exploit for its

strategy to be effective. The Amazon Key is wired directly into a building’s existing intercom

system to give its deliverers direct access to the apartment lobby and to mask Amazon’s use and

misuse of existing installations.

       90.     GateGuard protects its proprietary rights in its devices through a Service Agreement

and its Terms and Conditions that must be accepted by all GateGuard customers without


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exception. 21 The Company customer acquisition model, contractual relationships and legal rights

are spelled out in detail on the Company’s website, www.gateguard.xyz. It is impossible to become

a GateGuard customer without acknowledging the Company’s Service Agreement and Terms and

Conditions through the Company website.

       91.       The Service Agreement makes clear the GateGuard customer is a “subscriber,” not

the      owner        of       GateGuard        installations.      See      Service       Agreement,

https://gateguard.xyz/legal/serviceagreement.php.       Customers     are required     to provide a

Maintenance Security Deposit for the installation of a GateGuard device. Id. The manufacturer’s

suggested retail purchase price for a GateGuard device is $8649. Rather than selling the device,

however, the Company leases its devices to the customer for a heavily discounted product fee of

$3699 plus the Maintenance Security Deposit. Id.

       92.       In addition, the Company provides a “non-exclusive, non-transferable license,

without the right to sublicense, to run the Product Software as incorporated into the Products during

the Term solely for Subscriber’s use of the Product in conjunction with any Services ordered”

under the Service Agreement. Id. The base Subscription Fees include up to 1 GB of cellular data

usage per month. Subscribers can either pay monthly fees on a sliding scale determined by the

length of the contract or can prepay the total contract fees to achieve maximum savings. Id.

       93.       Upon early termination of the subscription contract, the full retail cost of the device

is due, much like an auto lease, where the early termination of a leased vehicle results in a charge

for the full purchase price. The customer also pays a service termination fee on early termination.




21
  Early in the Company’s history, in 2017 and 2018, a handful of customers claimed, in bad
faith, that they were unaware of the Company’s Terms and Conditions and that they had
somehow purchased devices directly from the Company without using the Company’s website.
                                              29
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       94.     As a reflection of GateGuard’s ownership rights, the Service Agreement states that

GateGuard makes “an intense effort to protect our devices, networks, connections, and data”

(emphasis added) and provides an indemnity for GateGuard’s customers against any third-party

claims that the GateGuard products or services infringe any validly registered U.S. patent,

copyright or trademark.

       95.     Customers are also required to acknowledge the Company’s privacy agreement,

which reflects GateGuard’s commitment to protecting the privacy rights of its customers and

device users, while underscoring the Company’s proprietary rights, clearly expressed as follows:

“We collect information from you when you register on our site, of via our devices, login via our

apps, place an order, subscribe to a newsletter, respond to a survey, fill out a form, Use Live Chat,

Open a Support Ticket, use our devices, or enter information on our site or devices or apps.” See

https://gateguard.xyz/legal/privacy.php (emphasis added).

GateGuard’s Falls Prey to Amazon’s Ruthless Tactics

       96.     On information and belief, Amazon has installed its Key for Business devices at

over 40 buildings where GateGuard was already installed, either without the property owner’s

consent or by misrepresenting the effect the Amazon device would have on the GateGuard

intercoms and resulting in the malfunctioning of GateGuard equipment, customer complaints, loss

of revenue and loss of goodwill. Where the Amazon Key has not caused malfunctioning, Amazon

has been able to free ride on the GateGuard device, without paying a royalty or usage fee, because

its conduct is secretive, hidden and deceptive.

       97.     The consequences of Amazon’s conduct have been devasting to GateGuard. The

company has lost contracts covering over 110 buildings as a result of Amazon’s tactics. When a

device malfunctions at one building as a result of Amazon’s actions, GateGuard loses the entire

                                                  30
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portfolio of buildings operated by a single manager. Thus, Amazon’s conduct has a devastating

multiplier effect on GateGuard’s business, resulting in millions of dollars in lost revenues. In

addition, where the Key has not caused malfunctioning, Amazon has been able to profit illicitly

from GateGuard’s brand and devices. At none of these buildings did GateGuard authorize the

installation of Amazon’s Key for Business into its own devices and, on information and belief,

none of the installations were authorized or authorized with full disclosure. There are likely

hundreds of additional buildings illegally using the Amazon Key without GateGuard’s knowledge

or consent.

       98.     Property managers have retaliated against GateGuard, rather than Amazon, not

knowing the full story and not considering the possibility that Amazon would operate in the

ruthless and anti-competitive manner discussed herein. This has damaged GateGuard directly in

its earnings as well as falsely damaged GateGuard technology's reputation in the industry.

       99.     As noted, Amazon achieves these unauthorized installations by arriving at a

building and (falsely) representing to unwitting residents or building personnel that the building’s

management has authorized Amazon to install Key for Business. This strategy has been

documented over and over, as indicated below:




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        100.    When representatives of one of the world’s largest and best-known companies

represent that they have secured authorization to install equipment, it is little surprise that building

personnel and tenants often trust these representations and allow Amazon to install Key for

Business.

        101.    Amazon has followed this same “playbook” to install Key for Business at least forty

buildings that utilize GateGuard’s intercoms, without authorization and in a manner that

intentionally or recklessly damages GateGuard’s devices. The damage to GateGuard’s business

has a multiplier effect, as landlords who have been deceived into believing GateGuard

malfunctions at one building cancel contracts covering dozens of additional buildings throughout

Manhattan.

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       102.    This is not conjecture. GateGuard has specific proof that Amazon lies to building

superintendents to install Key for Business inside the GateGuard intercom, as evidenced in the

following dialogue between a GateGuard representative and a building superintendent:




       103.    GateGuard contacted building management who confirmed they had not authorized

           Amazon’s installation:




       104.    Not only was the installation of Key for Business unauthorized by building
management, it was never discussed with GateGuard, which, under its contract, has exclusive
control over package management and access control devices on each building where it is installed.
Amazon knows GateGuard has an agreement with the property manager for operation of its
intercom and, as a sophisticated market participant, knows that no intercom provider would agree
to allow another company to install their equipment on top of its own without consent and thus


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knows that it is intentionally interfering with GateGuards contractual relations with the property
owners.
       105.    Generally, GateGuard only learned of the installation after the client complained
that the intercom – which had had no problems prior to the surreptitious insertion of the Key for
Business into Gateguard’s device – was now malfunctioning, leaving it with no effective remedy
other than to demand damages from Amazon, which Amazon refuses to pay. If Amazon’s illegal
use does not cause device malfunctioning, GateGuard has no effective means of catching every
instance of Amazon’s unauthorized conduct, resulting in unearned profits for Amazon.
       106.    The reason that Amazon’s Key for Business can be so damaging to GateGuard’s
intercom is that the Amazon device is installed directly onto the GateGuard circuit board or wiring
that is connected directly to the circuit board, often “shorting” the devices and rendering them
inoperable.
       107.    Even though Amazon operates in great secrecy, GateGuard has been able to catch

Amazon “red-handed” tampering with its intercom device.

       108.    The image immediately below shows Amazon’s extender, a subway-ticket size

device that needs to be inserted in or connected to an existing intercom or access control system:




                                                34
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      109.    At one building in Manhattan, GateGuard discovered this “extender” device

inserted and connected inside GateGuard’s intercom. The picture shown below is the back of a

portion GateGuard’s intercom. The extender device has been wedged onto Gateguard’s blue circuit

board; the green strip connecting the extender wires to a separate Amazon device can be seen on

the bottom right and the grey “bubbles” that can be seen on the upper left-hand portion of the

extender depicted above can be seen on the upper right-hand side of GateGuard’s case below:




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       110.    By connecting its device into the GateGuard intercom, Amazon can illegally “free-

ride” off of GateGuard’s product while being placed on or near GateGuard’s circuitry resulting in

malfunctioning that is blamed on GateGuard.

      111.     The dangerous placement of Amazon’s unauthorized device can be clearly seen in

paragraphs 108 and 109. Circuit boards are incredible delicate electronics which are protected by

cases and should not have even the tiniest unauthorized objects – let alone an entire alien circuit

board – pressed against them. The insertion of the smallest objects on top of a circuit board cause

an electric short, a broken part, or other permanent injury to the board. In this case, by wedging its

“extender” into GateGuard’s case, Amazon damaged GateGuard electronic components,

irreparably destroying the intercom screen.




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       113.   The “extension” benefits Amazon when the device does not malfunction and harms

GateGuard when it does, by shorting its device, damaging the intercom screen, and disabling other

electronic components.

       114.   The “extender” is clearly connected to the Amazon Key for Business device, as

shown by the sticker on the reverse of the device identifying the model name, number and FCC

ID, as well as the amazon.com website specifying ownership of the product.

       115.   The    FCC    ID    clearly   identifies   Amazon.com    Services   Inc.   as   the

“applicant/grantee”, as shown below:




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        116.     In addition, GateGuard has captured video of Amazon technicians tampering with

 multiple GateGuard devices. 22 Set forth below are images from the video showing Amazon

 technicians after they illegally opened the GateGuard® device without authorization and

 destroyed it:




22
  https://drive.google.com/file/d/1sFlE7808kHtjKajLsomDTwzTI3w1zlic/view
 https://drive.google.com/file/d/1Xtry9xVKCv1-VRr2NyqpNvvDV03XjT4L/view
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       117.    In the videos, Amazon employees wearing the jacket with the familiar Amazon

prime half-moon ascending arrow logo can be seen installing a device into the existing intercom

at a building served exclusively by GateGuard. Amazon did not obtain the consent of either

GateGuard or the property owner for the installation of its Key.

Amazon’s Key for Business Installations Routinely Damage Intercoms, Door Locks, and Wiring
       118.    On approximately 20 different occasions, building management have called

GateGuard to repair or replace disabled intercom devices. These calls cost GateGuard time and

money in support and repair, and it is likely that there are many more incidents that are not

reported, causing even greater disruption to customers and loss of business.




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       120.    Each time GateGuard has been called by building management, GateGuard has

discovered that Amazon tampered with its intercoms, including by inserting and connecting

Amazon’s extenders, a crucial component of the Key for Business “upgrade responsible for the

damage described above.

       121.    On information and belief, Amazon’s actions are not isolated instances, but are

systematic business practices designed to destroy competition. The numerous on-line complaints

and the confirmation that Amazon representatives lie about their authority to install equipment as

discussed above provide a reasonable inference that Amazon’s practices are widespread.

       122.    Amazon’s strategy is then to disparage its competitors’ device – that it has itself

damaged, but without the property owners’ consent – and propose the Amazon Key as an

“upgrade” to a system “degraded” by the Key itself.

       123.    As shown in the Twitter dialogue reproduced below, when installing Key for

Business – with or without authorization from building management – Amazon routinely disables

or destroys existing intercom devices, door locks, and wiring:

                                               42
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       124.   After Amazon began aggressively seeking to control the building access market,

GateGuard has received dozens of complaints and has been able to prove that these are directly

related to Amazon’s conduct.




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        125.    As discussed below, GateGuard has confronted Amazon with evidence of its

misconduct and, rather than compensating GateGuard for the damage caused, on information and

belief, Amazon has profited from the information provided by GateGuard to surreptitiously

reinstall its devices to cover up its initial illegal tampering. On information and belief, all of the

customer complaints relating to GateGuard devices failing after an Amazon Key installation are a

direct result of Amazon’s conduct. In addition, many instances of illegal installation remain

undiscovered, continuing to put GateGuard’s equipment at risk (because some devices short

repeatedly and only fail over time) and continuing to provide Amazon with unearned benefits from

its illegal free-riding conduct.

        126.    As a result of Amazon’s conduct, a number of GateGuard customers, residents and

others have come to believe falsely that GateGuard’s intercom systems are defective or that they

are otherwise less desirable or valuable to building owners than the Amazon systems that have

been illegally inserted into GateGuard intercoms. When the Key does not damage or destroy the

device, Amazon also profits from its illicit activities.

Amazon Attempts to Avoid Detection

        127.    To prevent detection, particularly after it learns that a savvy access control provider

such as GateGuard has become aware of its tactics, Amazon removes its “extenders” from

GateGuard’s devices after they have been sufficiently damaged.

        128.    GateGuard has been told by building managers that Amazon misleads them, claims

the extenders had nothing to do with any malfunctioning of GateGuard’s devices and then returns

to the building to install a new device that it now presents as an “update” that will avoid the

problems with the previous access control system. Since the property managers were in many, if

not most situations, unaware of the initial installation, they can easily be duped by Amazon. Even

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in rare situations where the property managers authorized the installation, they were not informed

of the manner in which Amazon would install its Key directly into GateGuard’s intercom or onto

its wiring, leading the property managers to believe Amazon’s lies that their product had nothing

to do with GateGuard’s malfunctioning.

       129.    As a result of Amazon’s conduct, GateGuard has suffered reputational harm,

diminished customer loyalty, and loss of revenue and other valuable commercial relationships,

both existing and prospective.

Amazon Reveals its Intentions
       130.    In October of 2020, GateGuard approached Amazon and provided considerable

evidence of its destructive and unlawful conduct (including the evidence incorporated above).

       131.    In addition to denying any responsibility for its conduct, Amazon “gaslit”

GateGuard, suggesting that the failure of GateGuard devices identified as having been the result

of tampering by Amazon was not because of anything done by Amazon but, rather, was

GateGuard’s fault.

       132.    Amazon’s arguments to this effect, however, were unsubstantiated, unsupportable

and false.

       133.    Although Amazon evinced interest in further discussions to explore a potential

resolution, when the parties met, Amazon refused to cease installing Key for Business in a manner

that damaged GateGuard and merely offered to enlist GateGuard as a Key for Business installer,

for which GateGuard would be paid a nominal fee.

       134.    Amazon characterized the Hobson’s choice it presented to GateGuard (which was

recorded on video by GateGuard) along the lines of, “either [Amazon] can cost you money or

make you money.” This is exactly the strategy Amazon aims to deploy with other potential rivals,

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turning itself into the essential gatekeeper, relegating third parties, at best, to an “adjunct” role and

making it prohibitively expensive for others to provide rival and truly competitive access solutions.

In the long run, this strategy aims not only to control the access market, but, ultimately, to control

the ecommerce and package delivery markets generally.

Summary of Amazon’s Anti-Competitive Conduct

        135.    Amazon is not achieving dominance of the building access and e-commerce

delivery markets by technological innovation, but by deception, harassment, ruthlessness, and

blatantly illegal conduct, such as the unauthorized accessing of and tampering with GateGuard and

other parties’ devices, and the pattern of lies and misrepresentations through which it deceives

lower-level apartment personnel to permit installation of the Key without the need to contact and

consult the “higher-ups.”

        136.    The House Antitrust Report documents Amazon’s brazenly anti-competitive

behavior, highlighting Amazon’s bullying, appropriation of third-party seller data, imposing fees

on captive users of its platforms, “self-preferencing” and abusing its “gatekeeper power.” Much

of the House Antitrust Report evokes patterns strikingly similar to the conduct that has so

damaged GateGuard, and underscores the anti-competitive purpose underlying Amazon’s

deceptive, illegal and cut-throat practices: “Once Amazon succeeds in trapping enough

customers in its “flywheel” to secure dominant position across varied markets, it can then raise

prices or remove incentives or allowances for third party sellers/competitors.” Damning as it is,

however, the House Antitrust Report is not the only source of information for Amazon’s history

of anti-competitive practices.

        137.    Reuters recently reported that it had reviewed thousands of pages of internal

Amazon documents – including emails, strategy papers and business plans – that show the

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company ran a systematic campaign of creating knockoffs and manipulating search results to

boost its own product lines in India, one of the company’s largest growth markets. The

documents reveal how Amazon’s private-brands team in India secretly exploited internal data

from Amazon.in to copy products sold by other companies, and then offered them on its

platform. 23 On information and belief, Amazon has stolen GateGuard’s proprietary data in a

similar manner.

          138.   The conduct of which GateGuard and others have been victim in fact represents

the anti-competitive DNA at the core of the Amazon business model.

                                      CAUSES OF ACTION

                                           COUNT I.

                 COMPUTER FRAUD AND ABUSE ACT (18 U.S.C. § 1030 et seq.)
                           (AS TO ALL DEFENDANTS)

          139.   GateGuard realleges and incorporates by reference each and every allegation set

above.

          140.   GateGuard’s devices are “high speed data processing device performing logical,

arithmetic, or storage functions” and thus come within the definition of “computer” under the

Computer Fraud and Abuse Act, 18 U.S.C. § 1030(e)(1).

          141.   GateGuard’s intercom devices are involved in interstate and foreign commerce

because they control packages and other deliveries to residential dwellings that originate from

locations both inside and outside of the State of New York. As a result, GateGuard’s intercoms are

“protected computers” under 18 U.S.C. § 1030(e)(2).




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     https://www.reuters.com/investigates/special-report/amazon-india-rigging/
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       142.    Upon information and belief, Defendants knowingly and intentionally accessed

GateGuard’s intercom devices without authorization or in excess of authorization, and thereby

obtained and used valuable information from those devices, including customer locations,

accounts, and id’s, in violation of 18 U.S.C. § 1030(a)(2)(C).

       143.    Upon information and belief, Defendants intentionally accessed a protected

computer or computers without authorization, and as a result of such conduct, caused damage and

loss, in violation of 18 U.S.C. § 1030(a)(5)(C), or recklessly caused damage in violation of 18

U.S.C. § 1030(a)(5)(B).

       144.    Defendants caused loss to one or more persons during a one-year period

aggregating well over $5,000 in value, and they also caused damage affecting ten or more protected

computers during a one-year period under 18 U.S.C. § 1030(c)(4)(A)(i)(I).

       145.    Amazon’s imposition of ever-increasing delivery quotas as part of its illegal scheme

described herein poses a direct threat to public health and safety, harming both the drivers and

installers and also leading to reckless driving conduct, in violation of 18 U.S.C. §

1030(c)(4)(A)(i)(4).

       146.    GateGuard has suffered damage and loss as a consequence of Defendants’ actions,

including but not limited to the cost of investigating and responding to unauthorized access and

abuse of its intercom devices, conducting damage assessments, restoring and replacing intercom

devices, wiring, systems, or information, termination of contracts, the loss of existing and future

business, the interference with GateGuard’s uploading and preservation of proprietary data, and

the harm to GateGuard’s operations, reputation and goodwill as described above, all in an amount

to be determined at trial, but no less than FORTY MILLION DOLLARS ($40,000,000) together

with attorneys’ fees and other equitable relief under 18 U.S.C. § 1030(g).

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                                       COUNT II.

     TORTIOUS INTERFERENCE WITH CONTRACT UNDER NEW YORK LAW
                      (AS TO ALL DEFENDANTS)

       147.    GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

       148.    GateGuard has entered into valid contracts with the owners or authorized agents of

the residential dwellings at which Plaintiff’s intercom devices were installed.

       149.    Defendants were aware of these contracts as evidenced by their misrepresentation

of their authority to access and tamper with Gateguard’s devices.

       150.    Defendants intentionally procured the breach of GateGuard’s contracts with

landlords and property managers by causing the intercom devices to malfunction and the causing

the termination of contracts with GateGuard under false pretexts. In fact, GateGuard’s contracts

do not permit termination when the devices have been damaged by a third party due to no fault of

GateGuard’s.

       151.    Plaintiff has suffered damages as a result of Defendant’s intentional interference

with their contractual relations with landlords and their agents in an amount to be determined at

trial, but no less than TWENTY-SEVEN MILLION DOLLARS ($27,000,000).

                                       COUNT III.

   TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
                       UNDER NEW YORK LAW
                      (AS TO ALL DEFENDANTS)

      152.     GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.


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       153.    Defendants intentionally and wrongfully interfered with future economic advantage

to be received from existing customers through the extension of their contracts with Plaintiff and

from future customers who will be deceived into thinking Plaintiff’s rival product to the Key for

Business is responsible for the equipment malfunctioning.

       154.    Plaintiff has lost existing customers, future business from such customers and

prospective customers as a result of Defendants’ wrongful conduct, including their unauthorized

access to Plaintiff’s intercom devices and their tampering with and manipulating said devices to

cause them to malfunction.

       155.    Plaintiff has also been delayed in fulfilling new, revenue-generating devices as its

installers were forced to rush to repair extensive damage caused by Amazon’s illegal installations,

losing that revenue-generating time forever.

       156.    As a result of Defendants’ tortious interference with prospective economic

advantage, Plaintiff has suffered damages in an amount to be determined at trial, but no less than

FOURTY MILLION DOLLARS ($40,000,000).

                                       COUNT IV.

                  TRESPASS TO CHATTELS UNDER NEW YORK LAW
                            (AS TO ALL DEFENDANTS)

       157.    GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

       158.    Defendants intentionally impaired the condition, quality and value of Plaintiff's

intercom devices by means of their unauthorized access to such devices and their manipulation

and tampering with the devices in such a manner as to impair their proper functioning and deprive

Plaintiff of the economic benefit therefrom.


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       159.     As a result of Defendants’ intentional impairment of the condition, quality and

value of Plaintiff’s intercom devices, Defendants have committed trespass to chattels and are liable

to Plaintiff for damages in an amount to be determined at trial, but no less than TEN MILLION

DOLLARS ($10,000,000).

                                            COUNT V.

                                          CONVERSION
                                    (AS TO ALL DEFENDANTS)

      160.      GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

       161.     GateGuard is the legal owner of the intercom devices installed at residential

dwellings under contract with it.

       162.     By accessing GateGuard’s intercoms without authorization and using and misusing

the devices so as to install the Key for Business, Defendants wrongfully exercised dominion over

Plaintiff’s intercom devices.

       163.     As a result of the ensuing conversion of Plaintiff’s property, Plaintiff has suffered

damages in an amount to be determined at trial, but no less than TEN MILLION DOLLARS

($10,000,000)

                                            COUNT VI.

       MISAPPROPRIATION OF TRADE SECRETS UNDER NEW YORK LAW
                      (AS TO ALL DEFENDANTS)

       164.     GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

       165.     GateGuard possesses trade secrets in its intercom devices, including the

configuration of its motherboard, the placement and type of electronic circuitry and other

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components used, the insulation resistance between circuits, the voltages at which the device

operates, the mechanisms of internet connectivity, the antennae used, the inner casing of the

intercom, its system of wall-mounting and hinges, its waterproofing design, and its custom-

designed cables.

       166.    This proprietary technology is kept secret from competitors and customers, with

only authorized GateGuard agents permitted access to the devices for repairs and troubleshooting.

GateGuard developed its devices after thousands of hours of trial and error and years of painstaking

research and development, including by its founder Ari Teman, who sacrificed his personal life

and health to develop GateGuard’s technology. The Company’s trade secrets are the core of its

value, which has been established at $300 million for purposes of the Company’s most recent

round of fundraising. Without acquiring GateGuard or illegally accessing the GateGuard devices,

Amazon would be unable to develop a device with the same or similar functionality.

       167.    Defendants wrongfully and dishonestly, by means of subterfuge, deceit, and other

illegal conduct, misappropriated Plaintiff’s trade secrets, applied Plaintiff’s intercom devices to

their own use, accessing the inner workings of the GateGuard devices and installing Key extenders

without authorization, paying compensation or obtaining consent

       168.    As a result of Defendants’ wrongful misappropriation of Plaintiff’s trade secrets,

Plaintiff has suffered damages in an amount to be determined at trial, but no less than ONE

HUNDRED MILLION DOLLARS ($100,000,000).




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                                             COUNT VII

                VIOLATION OF THE DEFEND TRADE SECRETS ACT OF 2016,
                                18 U.S.C.A. § 1832 et seq.)
                              (AS TO ALL DEFENDANTS)

         169.    GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

         170.    By illegally wiring into GateGuard’s intercoms, Amazon has been able to

misappropriate valuable proprietary intellectual property, as described in paragraphs 86 and 165

above.

         171.    GateGuard maintains and protects the secrecy of the foregoing information and

only provides access to authorized users pursuant to express contract or agreement.

         172.    GateGuard is the owner of the intellectual property in its devices, including the

associated trade secrets.

         173.    GateGuard devoted thousands of hours and years of research and development to

develop the GateGuard intercom.

         174.    Defendants did, with intent to convert a trade secret, related to a product or service

used in or intended for use in interstate or foreign commerce, to its own unauthorized economic

benefit, and knowing that said conversion would injure GateGuard,

            •    steal, or without authorization appropriate, take, carry away, or conceal, or by fraud,

                 artifice, or deception obtain GateGuard trade secrets;

            •     without authorization copy, duplicate, sketch, draw, photograph, download,

                 upload, alter, destroy, photocopy, replicate, transmit, deliver, send, mail,

                 communicate, or convey GateGuard trade secrets; and/or

            •    attempt to commit the foregoing.

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        175.    As a result of Defendants’ willful and malicious conduct, GateGuard has suffered

damages, including exemplary damages equal to two times its actual damages, in an amount to be

determined at trial, but no less than TWO HUNDRED MILLION DOLLARS ($200,000,000)

together with the payment of attorney’s fees and costs.

                                              COUNT VIII

                                TARNISHMENT UNDER NEW YORK LAW
                                 GENERAL BUSINESS LAW § 360 et seq.
                                     (AS TO ALL DEFENDANTS)

        176.    GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

        177.    GateGuard possesses a strong and distinctive registered trademark in the name

“GateGuard” applied to a smart intercom or access control devices.

        178.    Defendants have damaged the GateGuard mark by installing the Key inside of the

GateGuard device without GateGuard’s, landlords’ and/or property managers’ consent, wrongfully

displaying its Key as a GateGuard device, and damaging and tarnishing GateGuard’s brand when

the devices malfunction as a result of Defendants’ illegal conduct.

        179.    As a result of Defendants’ conduct GateGuard is entitled to damages, including

treble damages, under General Business Law § 360(m), in an amount to be determined at trial, but

no less than ONE HUNDRED AND TWENTY MILLION ($120,000,000), together with an award

of attorneys’ fees and costs.




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                                           COUNT IX

                                  UNFAIR COMPETITION
                               LANHAM ACT, 15 U.S.C. § 1125.
                                (AS TO ALL DEFENDANTS)


       180.    GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

       181.    Plaintiff has a valid mark entitled to protection under the Lanham Act.

       182.    Defendants have used the GateGuard mark in commerce in connection with the

sale or advertising of its Key device, without GateGuard’s consent.

       183.    Defendants’ use of the mark is likely to cause confusion as to the origin,

sponsorship, or approval of Amazon’s goods, services, or commercial activities by GateGuard,

leading consumers to believe that perceived product defects resulting from Defendants’ illegal

conduct are in fact defects in GateGuard’s devices, resulting in lost revenues.

       184.    In addition, Defendants are profiting from GateGuard’s technology and brand in

circumstances in which the Key device does not cause shorting and malfunctioning of the

GateGuard device.

       185.    As a result of its illegal conduct, Defendants are liable for treble damages and

disgorgement of profits in an amount to be determined at trial, but no less than ONE HUNDRED

AND TWENTY MILLION DOLLARS ($120,000,000), together with attorneys’ fees and costs.

                                           COUNT X.

                                   UNJUST ENRICHMENT
                                 (AS TO ALL DEFENDANTS)

       186.    GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

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       187.    Defendants were enriched by their practice of installing the Key for Business inside

Plaintiff’s intercom devices without consent by illegally “free-riding” on the work that Plaintiff

had performed to connect and wire its devices to the electrical circuits in the residential buildings

under contract to it, and accessing and misappropriating GateGuard’s proprietary technology.

       188.    Defendants’ actions occurred at the expense of Plaintiff in that Defendants’ free

riding also involved tampering with and manipulating the intercom devices in such a manner as to

cause the devices to malfunction while maintaining the functionality of Defendants’ Key for

Business and/or enabling Defendants to market the Key as an “upgrade” to a system they

themselves damaged and degraded. Defendants’ actions further occurred at the expense of Plaintiff

in that Defendants profited from Plaintiff’s development of proprietary technology after several

years and thousands of hours of research and development.

       189.    It would be against equity and good conscience to permit Defendants to profit from

their unauthorized, wrongful and damaging conduct.

       190.    As a result of the foregoing, Defendants have been unjustly enriched in an amount

to be determined at trial, but no less than ONE HUNDRED MILLION DOLLARS ($100,000,000).

                                 COUNT XI – CLASS CLAIM.

                         ATTEMPTED MONOPOLIZATION
                   UNDER THE SHERMAN ANTITRUST ACT OF 1890,
                                15 U.S.C. § 1 et seq.
                            CLAYTON ACT OF 1914 § 4
                           (AS TO ALL DEFENDANTS)

       191.    GateGuard realleges and incorporates by reference each and every allegation set

forth in the foregoing paragraphs above.

       192.    Amazon unquestionably exerts market power in the e-commerce delivery market.

Based on statistics showing dramatically increasing market share, at the end of 2020, Amazon

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already controlled more than 60% of the e-commerce delivery market, an already staggeringly

high percentage for a single company, and easily substantial enough for a determination that

Amazon has market power in the relevant market. Moreover, the continued explosive growth of

e-commerce and e-commerce deliveries as the economy entered its second year of the Covid

pandemic indicate this percentage is likely now 5-10 points higher.

       193.    Amazon has a specific intent to monopolize the e-commerce delivery market, as

can be easily inferred from the anti-competitive conduct Amazon has displayed in its dealings

with GateGuard, third-party access device providers and property owner, and its specific

comments to GateGuard. Proof of anticompetitive or exclusionary conduct may be used to infer

specific intent to monopolize. Volvo N. Am. Corp. v. Men's Int'l Pro. Tennis Council, 857 F.2d

55, 74 (2d Cir. 1988).

       194.    The anti-competitive conduct detailed in this Complaint, consistent with the

business practices identified by the House Antitrust Report and independent news agencies such

as Reuters and the Wall Street Journal, combined with Amazon’s unquestionable market power,

give Amazon a dangerous probability of succeeding in monopolizing the e-commerce delivery

market.

       195.    GateGuard and the other members of the proposed class are competitors of Amazon

in the e-commerce delivery market and have suffered anti-trust injury for which Clayton Act treble

damages and attorneys’ fees are available.

       196.    As a result of the foregoing, GateGuard and the other members of the class are

entitled to treble damages in an amount to be determined at trial but no less than ONE BILLION

DOLLARS ($1,000,000,000), together with attorneys’ fees and costs.



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                         CLASS REPRESENTATION ALLEGATIONS

       197.    The Class Members are so numerous that their individual joinder herein is

impracticable. On information and belief, the Class Members number in the thousands. Members

of the class include not only rival package delivery management service providers who have

suffered similar injury to GateGuard’s, but also other package delivery services, fulfillment

centers, e-commerce retailers, and property owners. The precise number of Class Members and

their identities are unknown at this time but may be determined through discovery. Class

Members may be notified of the pendency of this action by mail and/or publication through the

records of Defendants.

       198.    Common questions of law and fact exist as to all Class Members and predominate

over questions affecting only individual Class members. Common legal and factual questions

include, but are not limited to, the extent of Amazon’s market power in the relevant market,

whether Amazon Key for Business was installed at multi-family residential buildings without

consent, whether Amazon lied to building representatives about its authorization to install its

access “Key,” whether Amazon tampered with intercom or other access devices, whether

Amazon sought to turn rivals into unwilling customers, whether Amazon has a specific intent to

monopolize the e-commerce delivery market and whether Amazon has a dangerous probability

of succeeding in monopolizing the market.

       199.    The claims of GateGuard are typical of the claims of the Class Members in that

all class members must prove Amazon’s market power in the relevant market, anti-competitive

conduct on the part of Amazon, such as the pattern of deceit and/or illegally accessing and

tampering with devices of which GateGuard was a victim, all class members must prove

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Amazon’s specific intent to monopolize as directly expressed to GateGuard by an Amazon

representative and all Class Members must establish that Amazon has a dangerous probability

success.

        200.    GateGuard is an adequate representative of the Class because its interests do not

conflict with the interests of the Class Members it seeks to represent, it has retained competent

counsel experienced in prosecuting class actions, and it intends to prosecute this action

vigorously.

        201.    The interests of Class Members will be fairly and adequately protected by

Plaintiff and its counsel.

        202.    The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of Class members. Each individual Class member may lack the

resources to undergo the burden and expense of individual prosecution of the complex and

extensive litigation necessary to establish Defendants’ liability. Individualized litigation

increases the delay and expense to all parties and multiplies the burden on the judicial system

presented by the complex legal and factual issues of this case. Individualized litigation also

presents a potential for inconsistent or contradictory judgments. In contrast, the class action

device presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on the issue of

Defendants’ liability.



                                         JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial

by jury.

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       WHEREFORE, Plaintiff demands judgment:

       (1)     Under Count I, for damages resulting from Defendants’ violation of the Computer

Fraud and Abuse Act in an amount to be determined at trial, but no less than FORTY MILLION

DOLLARS ($40,000,000), together with attorneys’ fees and costs.

       (2)     Under Count II, for damages resulting from Defendants’ tortious interference with

contract in an amount to be determined at trial, but no less than TWENTY-SEVEN MILLION

DOLLARS ($27,000,000), together with attorneys’ fees and costs.

       (3)     Under Count III, for damages resulting from Defendants’ tortious interference

with prospective economic advantage in an amount to be determined at trial, but no less than

FORTY MILLION DOLLARS ($40,000,000), together with attorneys’ fees and costs.

       (4)     Under Count IV, for damages resulting from Defendants’ trespass to chattels in an

amount to be determined at trial, but no less than TEN MILLION DOLLARS ($10,000,000).

       (5)     Under Count V, for damages resulting from Defendants’ conversion of Plaintiff’s

property in an amount to be determined at trial, but no less than TEN MILLION DOLLARS

($10,000,000), together with attorneys’ fees and costs.

       (6)     Under Count VI, for damages resulting from Defendants’ wrongful

misappropriation of Plaintiff’s trade secrets in an amount to be determined at trial, but no less

than ONE HUNDRED MILLION DOLLARS ($100,000,000).

       (7)     Under Count VII, for damages, including double damages for Amazon’s willful

and malicious conduct, for violation of the Defend Trade Secrets Act in an amount to be

determined at trial, but no less than TWO HUNDRED MILLION DOLLARS ($200,000,000),

together with attorneys’ fees and costs.


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       (8)     Under Count VIII, for damages, including treble damages, resulting from

Amazon’s tarnishment of the GateGuard brand under Section 360 of the General Business Law

of New York, in an amount to be determined at trial, but no less than ONE HUNDRED AND

TWENTY MILLION DOLLARS ($120,000,000), together with attorneys’ fees and costs.

       (9)     Under Count IX, for treble damages and disgorgement of profits under the

Lanham Act, 15 U.S.C. § 1125, in an amount to be determined at trial, but no less than ONE

HUNDERED AND TWENTY MILLION DOLLARS ($120,000,000).

       (10)    Under Count X, for damages resulting from Defendants’ unjust enrichment in an

amount to be determined at trial, but no less than ONE HUNDRED MILLION DOLLARS

($100,000,000).

       (11)    Certifying Count XI as a class action under Rule 23(b)(3) of the Federal Rules of

Civil Procedure Rule and appointing GateGuard as class representative.

       (12)    Under Count XI, for an award of treble damages under § 4 of the Clayton Act in

an amount to be determined at trial, but no less than ONE BILLION DOLLARS

($1,000,000,000), together with attorneys’ fees and costs.

       (13)    Awarding GateGuard a reasonable fee as class representative.

       (14)    Issuing an injunction permanently enjoining Defendants from accessing Plaintiff’s

intercom devices without authorization and modifying, altering or tampering with such devices

in any manner without Plaintiff’s express authorization.

       (15)    Such other relief as this Court deems just and proper.

       Dated: New York, New York
              January 24, 2022



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